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                                      1   MICHAEL D. BRUNO (SBN 166805)
                                          mbruno@grsm.com
                                      2   RACHEL WINTTERLE (SBN 269853)
                                          rwintterle@grsm.com
                                      3   GORDON REES SCULLY MANSUKHANI, LLP
                                          275 Battery Street, Suite 2000
                                      4   San Francisco, CA 94111
                                          Telephone: (415) 986-5900
                                      5
                                          Attorneys for Defendant,
                                      6   THE REGENTS OF THE UNIVERSITY OF
                                          CALIFORNIA
                                      7

                                      8                          UNITED STATES DISTRICT COURT

                                      9                        NORTHERN DISTRICT OF CALIFORNIA

                                     10
                                          DR. JORDAN SPATZ, M.D., Ph.D.,           )   Case No. 3:21-CV-09605-LB
                                     11                                            )
Gordon Rees Scully Mansukhani, LLP




                                                                 Plaintiff,        )
   275 Battery Street, Suite 2000




                                     12                                            )   DEFENDANT THE REGENTS OF THE
     San Francisco, CA 94111




                                               vs.                                 )   UNIVERSITY OF CALIFORNIA’S
                                     13                                            )   NOTICE OF MOTION AND MOTION
                                          REGENTS OF THE UNIVERSITY OF             )   TO DISMISS THE FIRST CAUSE OF
                                     14   CALIFORNIA; and DOES 1 to 10, inclusive, )   ACTION IN PLAINTIFF’S FIRST
                                                                                   )   AMENDED COMPLAINT [Fed. R. Civ.
                                     15                          Defendants.       )   P. 12(b)(6)]; MEMORANDUM OF
                                                                                   )   POINTS AND AUTHORITIES
                                     16                                            )
                                                                                   )   [File concurrently with Proposed Order]
                                     17                                            )
                                                                                   )   Date: June 9, 2022
                                     18                                            )   Time: 9:30 a.m.
                                                                                   )   Courtroom: B
                                     19                                            )   Judge: Hon. Laurel Beeler
                                                                                   )
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                                                        DEFENDANT THE REGENTS OF THE UNIVERSITY OF CALIFORNIA’S
                                                  NOTICE OF MOTION AND MOTION TO DISMISS THE FIRST CAUSE OF ACTION IN
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                                      1                               NOTICE OF MOTION AND MOTION

                                      2             PLEASE TAKE NOTICE that on June 9, 2022 at 9:30 a.m., or as soon thereafter as the

                                      3   matter may be heard in the above-entitled court, Defendant The Regents of the University of

                                      4   California (“The Regents”) will and hereby does move the Court for a Motion to Dismiss the

                                      5   first cause of action in Plaintiff Jordan Spatz, M.D., Ph.D.’s First Amended Complaint for failure

                                      6   to state a claim upon which relief may be granted, pursuant to Federal Rule of Civil Procedure 12

                                      7   (b)(6).

                                      8             The Regents moves on the following grounds:

                                      9                1. The Age Discrimination Act of 1975 (“Age Act”) requires a Plaintiff to exhaust

                                     10   administrative remedies by filing a complaint within 180 days from the date he first became

                                     11   aware of the discrimination. 42 U.S.C. § 6104 (f). The Complaint alleges that Plaintiff filed an
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                                     12   administrative complaint on March 25, 2021. As such, any conduct that occurred prior to
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                                     13   September 26, 2020 (180 days before March 25, 2021) is time-barred.

                                     14                2. To the extent Plaintiff alleges conduct that occurred after September 26, 2020—

                                     15   and there are only two such allegations—those allegations are conclusory, unwarranted

                                     16   deductions of fact, and therefore fail to plausibly state a claim upon which relief may be granted.

                                     17             This motion is based upon this Notice of Motion and Motion, accompanying

                                     18   Memorandum of Points and Authorities, all pleadings and papers on file in this action, and upon

                                     19   such argument of counsel and other matters as may be presented to the Court at the time of the

                                     20   hearing.

                                     21   Dated: April 29, 2022
                                                                                        GORDON REES SCULLY MANSUKHANI, LLP
                                     22

                                     23                                                      By:   /s/ Rachel Wintterle
                                                                                                   Michael D. Bruno
                                     24                                                            Rachel Wintterle
                                                                                                   Attorneys for Defendant
                                     25                                                            THE REGENTS OF THE
                                                                                                   UNIVERSITY OF CALIFORNIA
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                                      1                       MEMORANDUM OF POINTS AND AUTHORITIES

                                      2   I.      INTRODUCTION

                                      3           With his First Amended Complaint, Plaintiff Jordan Spatz, M.D., Ph.D. seeks to cure

                                      4   defects present in his original complaint related to the first cause of action for violation of the

                                      5   Age Discrimination Act of 1975 (“Age Act”). In its order on The Regents of the University of

                                      6   California’s first motion to dismiss, the Court provided Plaintiff an opportunity to amend his

                                      7   complaint to allege administrative exhaustion in light of the fact that all but two of Plaintiff’s

                                      8   age-related allegations occurred more than 180 days prior to the filing of his complaint with U.S.

                                      9   Department of Health and Human Services (“HHS”). While the FAC alleges that HHS did not

                                     10   “exclude” any conduct from its investigation, the FAC also fails to allege that HHS found “good

                                     11   cause” to extend the 180-day filing deadline pursuant to 45 C.F.R. § 91.42(a). In other words,
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                                     12   Plaintiff does not allege that HHS found the “good cause” required to extended the deadline.
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                                     13   Rather, Plaintiff offers unsupported inferences and conclusory assertions that HHS extended the

                                     14   deadline and investigated items outside of the 180-day window. No authority is or can be cited

                                     15   that giving notice that it would begin an investigation is tantamount to finding all facts alleged

                                     16   were eligible. Plaintiff’s conjecture is not equal to, nor takes the place of, HHS’s finding “good

                                     17   cause” and thereafter extending the Age Act’s deadlines. Absent allegations that HHS followed

                                     18   the strictures of the statute and actually extended that deadline in the manner prescribed, Plaintiff

                                     19   has failed to exhaust his administrative remedies.

                                     20           Moreover, the FAC does nothing to cure the defects in the two non-time barred age-

                                     21   related allegations, and they remain conclusory, unwarranted deductions of fact insufficient to

                                     22   state a claim upon which relief may be granted. Therefore, for the reasons set forth herein and in

                                     23   the Motion, the motion to dismiss the first case of action should be granted and the first cause of

                                     24   action dismissed with prejudice.

                                     25   II.     LOCAL RULE 7-4 STATEMENT OF THE ISSUES

                                     26           1.     Whether the First Cause of Action for violation of the Age Discrimination Act of

                                     27   1975 should be dismissed with prejudice for failure to exhausted administrative remedies.

                                     28                                                    1
                                                           DEFENDANT THE REGENTS OF THE UNIVERSITY OF CALIFORNIA’S
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                                      1            2.     Whether the First Cause of Action for violation of the Age Discrimination Act of

                                      2   1975 should be dismissed with prejudice for failure to state a claim.

                                      3   III.     FACTUAL BACKGROUND

                                      4            A.     Procedural Background

                                      5            Plaintiff filed his original complaint on December 13, 2021. (Docket # 1.) On January 28,

                                      6   2022, The Regents filed a motion to dismiss the first, second, and fourth causes of action or, in

                                      7   the alternative, strike. (Docket # 8.) The Court heard the motion on February 17, 2022, and on

                                      8   March 20, 2022, the Court issued an Order Granting in Part and Denying in Part Motion to

                                      9   Dismiss (the “March 20 Order”). (Docket # 21.) The March 20 Order granted the motion to

                                     10   dismiss the first cause of action for violation of the Age Act without prejudice, giving Plaintiff

                                     11   an opportunity to amend to allege exhaustion of administrative remedies. (Id.)
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                                     12            On April 7, 2022, Plaintiff filed a First Amended Complaint (“FAC”) using the
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                                     13   pseudonym John Doe. (Docket # 23.) On April 8, 2022, The Regents filed a motion to require

                                     14   Plaintiff to proceed under his real name. (Docket # 25.) On April 21, 2022, the parties entered

                                     15   into a stipulation whereby Plaintiff would file an amended complaint under his real name and,

                                     16   after the amended first amended complaint was filed in Plaintiff’s real name, The Regents would

                                     17   withdraw its motion. (Docket # 28.) The stipulation also provided additional time for The

                                     18   Regents to respond to the FAC due to a medical emergency. (Id.) The Court entered the

                                     19   stipulation on April 25, 2022. (Docket # 30.) On April 27, 2022, Plaintiff filed his FAC in his

                                     20   real name. (Docket # 31.) On April 29, 2022, The Regents withdrew their motion to require

                                     21   Plaintiff to proceed under his real name. (Docket # 32.)

                                     22            B.     Plaintiff’s Background from the FAC

                                     23            At the time he filed this complaint, Plaintiff was 38 years old. (Complaint ¶ 6.) Plaintiff

                                     24   alleges that he was a UCSF medical student who applied to residency programs in 2019, 2020,

                                     25   and 2021. (FAC ¶ 6, 29.) He did not match with any of the [84 residency programs he applied to

                                     26   in 2019 for residency in 2020 and 198 residency programs he applied to in 2020 for residency in

                                     27

                                     28                                                     2
                                                            DEFENDANT THE REGENTS OF THE UNIVERSITY OF CALIFORNIA’S
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                                      1   2021] across the nation to which he applied in any year.1 (FAC ¶ 56.) Plaintiff alleges that he did

                                      2   not match with a residency program [for residency in 2020 or 2021] because of his age or

                                      3   perceived age and that his failure to match was the result of discrimination and harassment. (See,

                                      4   e.g., FAC ¶¶ 31-32, 35, 36, 37, 40-41, 43, 45-46, 48, 50, 53, 57-59.) Plaintiff also alleges that he

                                      5   has a lifelong learning disability. (FAC ¶ 14.)

                                      6   IV.       LEGAL STANDARD

                                      7             A.     Federal Rule of Civil Procedure 12(b)(6)

                                      8             Federal Rule of Civil Procedure 12(b)(6) provides that a defendant may make a motion

                                      9   to dismiss for “failure to state a claim upon which relief can be granted.” A dismissal pursuant

                                     10   to Rule 12(b)(6) is proper where there is an “absence of sufficient facts alleged under a

                                     11   cognizable legal theory.” Balistreri v. Pacifica Police Dept., 901 F.2d 696, 699 (9th Cir. 1999).
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                                     12   Moreover, although the Court must construe the facts in the light most favorable to the non-
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                                     13   moving party, the Court need not accept as true conclusionary allegations, legal

                                     14   characterizations, unreasonable inferences, or unwarranted deductions of fact. Beliveau v.

                                     15   Caras, 873 F.Supp. 1393, 1395-96 (C.D. Cal. 1995); In re Delorean Motor Co., 991 F.2d 1236,

                                     16   1240 (6th Cir. 1993). Finally, a court need not assume that a plaintiff can prove facts different

                                     17   from those alleged. Assoc. Gen. Contractors of Calif. v. Calif. State Council of Carpenters, 459

                                     18   U.S. 519, 526 (1983).

                                     19   V.        ARGUMENT

                                     20             A.     The Court Should Dismiss the First Cause of Action With Prejudice For
                                                           Failure to Exhaust Administrative Remedies.
                                     21

                                     22             The first cause of action alleges discrimination based on age pursuant to the Age Act. In
                                     23       response to the March 20 Order, Plaintiff filed an amended complaint ostensibly alleging
                                     24       exhaustion of administrative remedies. For the reasons discussed below, the FAC fails to
                                     25

                                     26
                                          1
                                     27    The allegations in the FAC focus on 2020 and 2021. It is The Regents understating that on his third attempt at
                                          matching, Plaintiff matched with at least one residency program.
                                     28                                                            3
                                                           DEFENDANT THE REGENTS OF THE UNIVERSITY OF CALIFORNIA’S
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                                      1   adequately plead exhaustion of administrative remedies and a second attempt at amendment

                                      2   would be futile.

                                      3                  1.      Exhaustion of Administrative Remedies Is a Necessary Prerequisite to
                                                                 Filing a Claim for Violation of the Age Act.
                                      4

                                      5          It is axiomatic that “[p]roper exhaustion demands compliance with an agency’s deadlines

                                      6   and other critical procedural rules.” Woodford v. Ngo, 548 U.S. 81, 90–91 (2006). In the case of

                                      7   the Age Act, a plaintiff must file a complaint with HHS “within 180 days from the date [the

                                      8   plaintiff] first had knowledge of the alleged act of discrimination.” 45 C.F.R. § 91.42(a).

                                      9   However, HHS may extend this time limit “for good cause shown.” Id. If a plaintiff fails to file

                                     10   an administrative complaint within 180 days of an allegedly discriminatory act, then the plaintiff

                                     11   has failed to administratively exhaust that allegation, and the allegation cannot serve as the basis
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                                          of a subsequent lawsuit.
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                                     13          For example, in Grant v. Alperovich, the court dismissed the plaintiff’s complaint

                                     14   because “she failed to file her complaint within the 180 day time limit set by the regulations” and

                                     15   also because she failed meet the notice requirement. No. C12–1045RSL, 2013 WL 6512985, at

                                     16   *6-7 (W.D. Wash. Dec. 12, 2013). Likewise, in Strujan v. Teachers College Columbia

                                     17   University—which was cited in the March 20 Order—the court found that “[b]ecause plaintiff

                                     18   did not timely file her complaint with the OCR, she failed to exhaust her administrative

                                     19   remedies.” No. 08 Civ. 9589 (WHP)(HBP), 2010 WL 3466301, at *6 (S.D.N.Y. Aug. 11, 2010).

                                     20          Here, the FAC alleges that Plaintiff filed an administrative complaint with the HHS on

                                     21   March 25, 2021. (FAC ¶ 64.) Due to the 180-day requirement, this means that Plaintiff only met

                                     22   the administrative exhaustion requirement for allegedly discriminatory acts that occurred after

                                     23   September 26, 2020 (180 days before March 25, 2021).

                                     24          The only way that Plaintiff could circumvent this rule would be for him to allege that

                                     25   HHS had found “good cause” to extend the 180-day requirement. And as the plain language of

                                     26   the Code of Federal Regulations makes clear, only HHS can extend the 180 day deadline, not the

                                     27   Court. 45 C.F.R. § 91.42(a) (“HHS may extend this time limit.”); see also, Kamps v. Baylor

                                     28                                                    4
                                                         DEFENDANT THE REGENTS OF THE UNIVERSITY OF CALIFORNIA’S
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                                      1   University, CIV. NO. SA-13-CA-929-OLG, 2013 WL 12100452, at *5 (W.D. Tex Oct. 30, 2013)

                                      2   (“the applicable language [] accords the OCR, not the Court, the responsibility and discretion to

                                      3   award a waiver of the filing time limit.”)

                                      4          In this case, all but two of Plaintiff’s allegations occurred prior to the 180-day filing

                                      5   deadline (and those two allegations fail to state a claim for independent reasons explained below)

                                      6   and there are no allegations that HHS found “good cause” to extend the 180-day deadline.

                                      7                  2.      The FAC Does Not Allege the Department of Health and Human
                                                                 Services Extended the 180-Day Filing Deadline for Good Cause
                                      8

                                      9          The FAC adds various allegations regarding the things Plaintiff complained to HHS
                                     10   about and alleges that following receipt of the complaint, HHS interviewed Plaintiff. (FAC ¶¶
                                     11   64-65.) The FAC also alleges that during that interview, HHS:
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                                     12
                                                 [R]eviewed the entirety of Plaintiff’s written complaint, including incidents that
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                                     13          occurred more than 180 days before Plaintiff filed the complaint with HHS OCR
                                                 []. Subsequently, the HHS OCR representative notified Plaintiff that based on the
                                     14          complaint and its ongoing nature, HHS would not exclude pre-180- day incidents
                                                 from its investigation.
                                     15

                                     16   (FAC ¶ 65.) The FAC further alleges Plaintiff received a letter from HHS stating it was
                                     17   investigating Plaintiff’s claims and “specifically mentioned incidents that occurred more than
                                     18   180 days before Plaintiff filed the complaint.” (FAC ¶ 66.) As a result, the FAC erroneously
                                     19   concludes, Plaintiff exhausted his administrative remedies for all of his allegations—regardless
                                     20   of when they occurred. (Id.) This is an unwarranted leap in logic belied by Plaintiff’s own
                                     21   allegations.
                                     22          Plaintiff quite carefully alleges only that HHS “would not exclude” any alleged incident
                                     23   from its investigation. (FAC ¶ 65.) In other words, he does not allege that HHS indeed found the
                                     24   necessary “good cause” to extend the 180-day deadline to file a complaint, much less that HHS
                                     25   actually extended the deadline. (See FAC, generally.) The fact that HHS OCR is investigating
                                     26   Plaintiff’s complaints is not tantamount to HHS making an affirmative finding of good cause to
                                     27   extend the 180-day deadline.
                                     28                                                   5
                                                         DEFENDANT THE REGENTS OF THE UNIVERSITY OF CALIFORNIA’S
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                                      1              As discussed above, only HHS can extend the 180-day filing deadline, and it can do so

                                      2   only when it finds “good cause.” 45 C.F.R. § 91.42(a). Because there are no allegations that HHS

                                      3   affirmatively extended that deadline, any and all allegations regarding conduct that occurred

                                      4   before September 26, 2020 (180 days prior to Plaintiff filing his complaint on March 25, 2021)

                                      5   are untimely and do not comply with the Department’s filing requirements. When a plaintiff has

                                      6   failed to comply with an agency’s deadlines, that plaintiff has not exhausted his administrative

                                      7   remedies. Woodford, 548 U.S. at 90–91; Strujan, 2010 WL 3466301, at *6. Such is the case here.

                                      8              Further leave to amend would be futile. Upon receipt of the March 20 Order affording

                                      9   clear guidance on what Plaintiff needed to allege—that HHS found “good cause” to extend the

                                     10   180-day deadline—he failed to do so. Rather, he solely alleges that such conduct was not

                                     11   “exclude[d]” from the investigation. But this is not the same as a finding by HHS that the
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                                     12   deadline should be extended, and absent a finding of “good cause,” another opportunity to amend
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                                     13   will not change anything. Therefore, the first cause of action should be dismissed without leave

                                     14   to amend.

                                     15                       3.      The Majority of the Age-Related Conduct Alleged in the FAC
                                                                      Occurred More than 180 Days Before Plaintiff Filed His Complaint
                                     16                               with HHS or is Insufficient to State a Claim.
                                     17               The age-related conduct alleged in the FAC falls into two categories: (1) conduct that

                                     18   occurred prior to September 26, 2020, and (2) conduct that is insufficient to state a claim.

                                     19               First, the FAC alleges age related conduct that purportedly occurred in October 2017

                                     20   (FAC ¶ 31), March 5, 2018 (id. ¶ 32), January 9, 2020 (id. ¶ 35), January 10, 2020 (id. ¶ 36),

                                     21   January 14, 2020 (id. ¶ 37), February 6, 2020 (id. ¶ 40-41), February 9, 2020 (id. ¶ 43), February

                                     22   14, 2020 (id. ¶ 45), February 20, 2020 (id. ¶ 46), February 21, 2020 (id. ¶ 48), March 17, 2020

                                     23   (id.¶ 50), and “in 2020.” (Id. ¶ 53.) As described above, these allegations are time-barred.

                                     24               Second, the FAC alleges what Plaintiff describes as two comments expressing age-

                                     25   related stereotypes that supposedly occurred in March 2021.2 (FAC ¶¶ 57-59.) First, Plaintiff

                                     26   alleges he was informed that, in Dr. Starr’s experience training residents, he had “a higher risk of

                                     27   2
                                              Comments made in 2021 have no relevance to Plaintiff’s failure to match in 2020.
                                     28                                                             6
                                                            DEFENDANT THE REGENTS OF THE UNIVERSITY OF CALIFORNIA’S
                                                      NOTICE OF MOTION AND MOTION TO DISMISS THE FIRST CAUSE OF ACTION IN
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                                      1   killing a patient than others” and “[his] capacity to work long hours [was] not good enough to be

                                      2   a resident.” (Id. ¶ 58.) Second, Plaintiff alleges concerns were expressed with his “durability.”

                                      3   (Id. ¶ 59.) While these allegations are administratively exhausted, these two alleged comments

                                      4   are insufficient to state a claim as neither is age related nor do they plausibly demonstrate a

                                      5   discriminatory animus. Rather, the two alleged comments reflect Plaintiff’s skills compared to

                                      6   others, as well as his endurance (which affects any candidate of any age when faced with the

                                      7   rigors of residency training that requires long hours (up to 80 per week)), skills testing, and

                                      8   academic examinations. Moreover, these alleged comments are unsupported by allegations of

                                      9   any witness corroboration of the age-related comments he alleges. The Court need not accept as

                                     10   true conclusionary allegations, unreasonable inferences, or unwarranted deductions of fact.

                                     11   Balistreri v. Pacifica Police Dept., 901 F.2d 696, 699 (9th Cir. 1999); In re Delorean Motor Co.,
Gordon Rees Scully Mansukhani, LLP
   275 Battery Street, Suite 2000




                                     12   991 F.2d 1236, 1240 (6th Cir. 1993). These two allegedly age-related comments from March
     San Francisco, CA 94111




                                     13   2021 are just that - unwarranted deductions of fact and insufficient to state a claim.

                                     14   VI.     CONCLUSION

                                     15           For the reasons set forth herein, and the accompanying Notice of Motion and Motion to

                                     16   Dismiss, Plaintiff’s first causes of action should be dismissed for failure to state a claim.

                                     17

                                     18   Dated: April 29, 2022
                                                                                         GORDON REES SCULLY MANSUKHANI, LLP
                                     19

                                     20                                                         By:   /s/ Rachel Wintterle
                                                                                                      Michael D. Bruno
                                     21                                                               Rachel Wintterle
                                                                                                      Attorneys for Defendant
                                     22                                                               THE REGENTS OF THE
                                                                                                      UNIVERSITY OF CALIFORNIA
                                     23

                                     24

                                     25

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                                     28                                                     7
                                                           DEFENDANT THE REGENTS OF THE UNIVERSITY OF CALIFORNIA’S
                                                     NOTICE OF MOTION AND MOTION TO DISMISS THE FIRST CAUSE OF ACTION IN
                                                PLAINTIFF’S FIRST AMENDED COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES
                                                                            Case No. 3:21-CV-09605-LB
                                           Case 3:21-cv-09605-LB Document 33 Filed 04/29/22 Page 12 of 12



                                      1                                   CERTIFICATE OF SERVICE
                                                   Dr. Jordan Spatz, M.D., Ph.D. v. Regents of the University of California, et al.
                                      2                              USDC ND, Case No. 3:21-cv-09605-LB

                                      3
                                                  I am a resident of the State of California, over the age of eighteen years, and not a party
                                      4   to the within action. My business address is: Gordon Rees Scully Mansukhani, LLP 275 Battery
                                          Street, Suite 2000, San Francisco, CA 94111. On the below-mentioned date, I served the within
                                      5   documents:

                                      6          DEFENDANT THE REGENTS OF THE UNIVERSITY OF CALIFORNIA’S
                                                 NOTICE OF MOTION AND MOTION TO DISMISS THE FIRST CAUSE OF
                                      7          ACTION IN PLAINTIFF’S FIRST AMENDED COMPLAINT; MEMORANDUM
                                                 OF POINTS AND AUTHORITIES
                                      8
                                                 PROPOSED ORDER
                                      9

                                     10    ONLY BY ELECTRONIC TRANSMISSION. Only by e-mailing the document(s) to
                                            the persons at the e-mail address(es) listed based on notice provided . During the
                                            Coronavirus (Covid-19) pandemic, this office will be working remotely, not able to
                                     11     send physical mail as usual, and is therefore using only electronic mail.
Gordon Rees Scully Mansukhani, LLP




                                          by placing the document(s) listed above in a sealed envelope with postage thereon
   275 Battery Street, Suite 2000




                                     12     fully prepaid, in United States mail in the State of California at San Francisco,
     San Francisco, CA 94111




                                            addressed as set forth below.
                                     13

                                     14   by placing a true copy thereof enclosed in a sealed envelope, at a station designated
                                            for collection and processing of envelopes and packages for overnight delivery by
                                            FedEx as part of the ordinary business practices of Gordon Rees Scully Mansukhani,
                                     15     LLP described below, addressed as follows:

                                     16
                                             Dow W. Patten
                                     17      Gregory M. Saavedra
                                             FORTHRIGHT LAW, P.C.
                                     18      50 California Street, Suite 1500
                                             San Francisco, California 94111-4612
                                     19      415-228-6848 Fax: 415-228-6876
                                             dow@forthrightlaw.com
                                     20      gregory@forthrightlaw.com

                                     21
                                                 I am readily familiar with the firm’s practice of collection and processing correspondence
                                     22   for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same
                                          day with postage thereon fully prepaid in the ordinary course of business.
                                     23
                                                 I declare under penalty of perjury under the laws of the United States of America that the
                                     24   above is true and correct. Executed on April 29, 2022 at San Francisco, California.

                                     25

                                     26                                                                        Julie Vernon

                                     27

                                     28


                                                                                  PROOF OF SERVICE
